$2 5HY 'HWHQWLRQ2UGHU3HQGLQJ7ULDO0,:' 5HY
                    Case 1:12-cr-00132-JMB                                   ECF No. 396, PageID.1345                                       Filed 03/29/13                     Page 1 of 1
                                    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

                             8QLWHG6WDWHVRI$PHULFD                                                                      ORDER OF DETENTION PENDING TRIAL
                                                Y

                                        Eric Ruibal                                                                        &DVH1R 1:12-cr-00132-RHB
                                             Defendant


            $IWHUFRQGXFWLQJDGHWHQWLRQKHDULQJXQGHUWKH%DLO5HIRUP$FW86& I ,FRQFOXGHWKDWWKHVHIDFWVUHTXLUH
WKDWWKHGHIHQGDQWEHGHWDLQHGSHQGLQJWULDO
                                                                                  Part I±Findings of Fact
  7KHGHIHQGDQWLVFKDUJHGZLWKDQRIIHQVHGHVFULEHGLQ86& I  DQGKDVSUHYLRXVO\EHHQFRQYLFWHGRI
               DIHGHUDORIIHQVHDVWDWHRUORFDORIIHQVHWKDWZRXOGKDYHEHHQDIHGHUDORIIHQVHLIIHGHUDOMXULVGLFWLRQKDG
               H[LVWHG±WKDWLV
                DFULPHRIYLROHQFHDVGHILQHGLQ86& D  RUDQRIIHQVHOLVWHGLQ86&E J  % IRU
                        ZKLFKWKHSULVRQWHUPLV\HDUVRUPRUH
                DQRIIHQVHIRUZKLFKWKHPD[LPXPVHQWHQFHLVGHDWKRUOLIHLPSULVRQPHQW
                DQRIIHQVHIRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
                        
                DIHORQ\FRPPLWWHGDIWHUWKHGHIHQGDQWKDGEHHQFRQYLFWHGRIWZRRUPRUHSULRUIHGHUDORIIHQVHVGHVFULEHGLQ
                        86& I  $  & RUFRPSDUDEOHVWDWHRUORFDORIIHQVHV
                DQ\IHORQ\WKDWLVQRWDFULPHRIYLROHQFHEXWLQYROYHV
                                 DPLQRUYLFWLP
                                   WKHSRVVHVVLRQRUXVHRIDILUHDUPRUGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ
                                   DIDLOXUHWRUHJLVWHUXQGHU86&
  7KHRIIHQVHGHVFULEHGLQILQGLQJ  ZDVFRPPLWWHGZKLOHWKHGHIHQGDQWZDVRQUHOHDVHSHQGLQJWULDOIRUDIHGHUDOVWDWH
               RUORFDORIIHQVH
  $SHULRGRIOHVVWKDQ\HDUVKDVHODSVHGVLQFHWKHGDWHRIFRQYLFWLRQGHIHQGDQW¶VUHOHDVHIURPSULVRQIRUWKH
               RIIHQVHGHVFULEHGLQILQGLQJ  
  )LQGLQJV    DQG  HVWDEOLVKDUHEXWWDEOHSUHVXPSWLRQWKDWQRFRQGLWLRQZLOOUHDVRQDEO\DVVXUHWKHVDIHW\RIDQRWKHU
               SHUVRQRUWKHFRPPXQLW\,IXUWKHUILQGWKDWGHIHQGDQWKDVQRWUHEXWWHGWKDWSUHVXPSWLRQ
                                                                                  Alternative Findings (A)
  ✔  7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH

                  ✔ IRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
               
                        
                         Controlled Substances Act (21 U.S.C. 801 et seq.)
                XQGHU86& F 
  ✔  7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ  WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV

               ZLOOUHDVRQDEO\DVVXUHWKHGHIHQGDQW¶VDSSHDUDQFHDQGWKHVDIHW\RIWKHFRPPXQLW\
                                                                                  Alternative Findings (B)
  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOQRWDSSHDU
  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOHQGDQJHUWKHVDIHW\RIDQRWKHUSHUVRQRUWKHFRPPXQLW\
                                                             Part II – Statement of the Reasons for Detention
            ,ILQGWKDWWKHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHGHWHQWLRQKHDULQJHVWDEOLVKHVE\FOHDUDQGFRQYLQFLQJ                       ✔
HYLGHQFHDSUHSRQGHUDQFHRIWKHHYLGHQFHWKDW
  1. Defendant violated conditions of an Order of Supervision of the INS, namely that he keep INS informed of his residence, that
  he not associate with gang members, and that he not commit other crimes.
  2. Defendant has a history of substance abuse.
  3. Defendant is charged with a crime with a penalty of up to life imprisonment and a 10 year minimum sentence.
  4. Defendant has a history of membership in the Holland Latin Kings, a gang having structure and a history of criminal and
  violent activity.
  5. Defendant has no long-term history of steady employment.
                                                                    Part III – Directions Regarding Detention
            7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUDGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUKHOGLQFXVWRG\SHQGLQJ
DSSHDO7KHGHIHQGDQWPXVWEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\WRFRQVXOWSULYDWHO\ZLWKGHIHQVHFRXQVHO2QRUGHURI8QLWHG
6WDWHV&RXUWRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\PXVWGHOLYHUWKH
GHIHQGDQWWRWKH8QLWHG6WDWHVPDUVKDOIRUDFRXUWDSSHDUDQFH
 Date:                March 29, 2013                                                Judge’s Signature: /s/ Ellen S. Carmody
                                                                                        Name and Title: Ellen S. Carmody, U.S. Magistrate Judge

 ,QVHUWDVDSSOLFDEOH D &RQWUROOHG6XEVWDQFHV$FW 86&HWVHT  E &RQWUROOHG6XEVWDQFHV,PSRUWDQG([SRUW$FW 86&HWVHT RU F 6HFWLRQRI$FWRI6HSW 86&D 
